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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- x
                                                        :
 UNITED STATES OF AMERICA,                              :
                                                        :   S2 20 Cr. 330 (AJN)
               v.                                       :
                                                        :
 GHISLAINE MAXWELL,
                                                        :
                                                        :
                            Defendant.
                                                        :
                                                        :
------------------------------------------------------- x



            GHISLAINE MAXWELL’S RESPONSE TO GOVERNMENT’S
                       OMNIBUS MOTIONS IN LIMINE


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        Ghislaine Maxwell herby submits her response to the Government’s Omnibus Motions in

Limine.

                               PRELIMINARY STATEMENT
        The government’s self-described “Motions in Limine” are an ill-founded attempt to:

(1) improperly obtain advisory rulings from the Court on an undeveloped factual record;

(2) prematurely, and unconstitutionally, force Ms. Maxwell to reveal defense theories, strategies,

and cross-examination; (3) improperly limit Ms. Maxwell’s defenses; and (4) inappropriately

enlist the Court in vouching for the credibility of the accusers by the use of pseudonyms and

other artifices.

        For the most part, the issues raised by the government cannot, and should not, be

addressed pretrial because the Court lacks the necessary facts to make intelligent rulings. The

issues raised under headings II-XI should be denied on this basis alone. The arguments related to

the use of pseudonyms and other artifices fails because

                          the limitations suggested by the government will: (1) unconstitutionally

restrict Ms. Maxwell’s confrontation rights; (2) run afoul of both her right to a public trial and

the First Amendment right to public access, and (3) are simply unworkable as a practical matter

inviting a mistrial.

        A. The True Purpose of a Motion in Limine

        The purpose of a motion in limine is to allow the trial court to rule in advance of trial on

the admissibility of certain forecasted evidence. See Luce v. United States, 469 U.S. 38, 40 n. 2

(1984) (explaining that the motion in limine is used to “to exclude anticipated prejudicial

evidence before the evidence is actually offered”); see also Palmieri v. Defaria et al., 88 F.3d

136, 141 (2d Cir. 1996) (“The purpose of an in limine motion is to aid the trial process by

enabling the Court to rule in advance of trial on the relevance of certain forecasted evidence, as


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to issues that are definitely set for trial, without lengthy argument at, or interruption of, the trial.”

(citation and internal quotation marks omitted)); Nat'l Union Fire Ins. Co. v. L.E. Myers Co.

Group et al., 937 F. Supp. 276, 283 (S.D.N.Y. 1996) (same). Evidence should be excluded on a

motion in limine only when the evidence is clearly inadmissible on all potential grounds. See

Baxter Diagnostics, Inc. v. Novatek Med., Inc., 1998 WL 665138, at *3 (S.D.N.Y. Sept. 25,

1998); Nat'l Union Fire Ins. Co., 937 F. Supp. at 287.

        The way the government has raised its purported “in limine” motions is disfavored. Like

the government’s motions here, where a party “endeavor[s] to strike in shotgun fashion at whole

topics and sources of prospective evidence, out of context and before any specific objection

against its proper backdrop is raised…,” the strategy is “impermissible” and the motions should

be denied. TVT Recs. v. Island Def Jam Music Grp., 250 F. Supp. 2d 341, 344 (S.D.N.Y. 2003).

        Where the in limine motion seeks to preclude evidence or argument regarding various

defenses it “is plainly improper.” United Realty Advisors, LP v. Verschleiser, No. 14-CV-5903

(JGK), 2019 WL 5285043, at *1 (S.D.N.Y. Oct. 3, 2019); see also United States v. Overton, No.

15-CR-9S, 2017 WL 6347084, at *2 (W.D.N.Y. Dec. 13, 2017); United States v. Morel, 751 F.

Supp. 2d 423, 427–28 (E.D.N.Y. 2010).

        B. Advisory Rulings are Not Appropriate Here

        Out of context, the government attempts to preclude whole categories of potential

defenses, argument, and cross examination before one witness has testified. See Sections III, IV,

IX (“The Court Should Preclude Evidence or Argument”), V (The Court Should Preclude

Challenges), VII (“the Court Should Require the Defense”), VIII ("The Court should not

Permit”), X (“The Court Should Preclude the Defense”), and XI ("The Defendant Should be

Precluded”).




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       These arguments are about things that have not occurred and may not occur. Ms.

Maxwell’s counsel understand the rules of evidence and the law. Much of what may or may not

happen in this trial will depend on the evidence produced by the government. Ms. Maxwell has

no burden of proof and is not required to respond to hypothetical demands or provide previews

about how she intends to cross examine witnesses. Consistent with prudent judicial practices, the

Court should decline to rule on these hypothetical complaints. See Seymour v. Bache & Co., 502

F. Supp. 115, 119 (S.D.N.Y. 1980) ("In light of the uncertainties surrounding these legal issues, a

potentially unnecessary, and thus merely advisory, ruling should be avoided."); In re Refco Cap.

Markets, Ltd. Brokerage Customer Sec. Litig., No. 06 CIV. 643 (GEL), 2008 WL 4962985, at *5

(S.D.N.Y. Nov. 20, 2008), aff'd sub nom. Cap. Mgmt. Select Fund Ltd. v. Bennett, 680 F.3d 214

(2d Cir. 2012) ("However, this request amounts to a demand for an advisory ruling as to the

effect of an entirely hypothetical future pleading that might be asserted given the occurrence of

contingent future events."); M.K. ex rel. Mrs. K. v. Sergi, 554 F. Supp. 2d 233, 242 (D. Conn.

2008) ("The Court again declines to provide an advisory ruling on a matter that is not yet ripe.");

and Yokohama Rubber Co. LTD v. Stamford Tyres Int'l PTE LTD, No. SA-CV-0700010-

CJCMGLX, 2008 WL 11342955, at *2 (C.D. Cal. Feb. 19, 2008) ("The Court will not issue an

advisory ruling on a theoretical affirmative defense that may not actually be asserted.").

       The government’s overreaching extends to areas that cannot be anticipated prior to

witness testimony, and the trial court's power to limit (or not limit) cross-examination is often

best exercised after hearing the direct testimony of the witnesses. United States v. Evanchik, 413

F.2d 950, 953 (2d Cir. 1969); United States v. Crisona, 416 F.2d 107, 117 (2d Cir. 1969), cert.

denied, 397 U.S. 961 (1970); United States v. Cacchillo, 416 F.2d 231, 234 (2d Cir. 1969).




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       The movant bears the burden of proof to show factors that outweigh the ordinary

presumption of judicial openness. Doe v. Cook Cty., Illinois, No. 1:20-CV-5832, 2021 WL

2258313, at *3 (N.D. Ill. June 3, 2021). And, in the context of maintaining an alleged victim’s

anonymity for the types of reasons proffered by the government, “conclusory statements are of

limited utility.” Rapp v. Fowler, No. 20-CV-9586 (LAK), 2021 WL 1738349, at *6 (S.D.N.Y.

May 3, 2021). Even if the government’s motion was supported by any evidence, “claims of

public humiliation and embarrassment” due to “significant media attention. . . are not sufficient

grounds for allowing” an accuser to proceed anonymously. ” Doe v. Shakur, 164 F.R.D. 359,

361-62 (S.D.N.Y. 1996) (denying motion to proceed by pseudonym brought by woman who

alleged that rapper Tupac Shakur assaulted her despite the media attention the case likely was to

attract); see also Doe v. Weinstein, 484 F. Supp. 3d 90, 95 (S.D.N.Y. 2020) (denying motion to

proceed by pseudonym brought by woman who alleged that movie producer Harvey Weinstein

assaulted her despite that Weinstein's infamy was likely to cause significant media attention); see

also People v. Harvey Weinstein, Indictment Nos. 02335/2018 and 2673/19 (N.Y. Sup. Ct.)




       With no analysis relating to the facts of this case, the government has cobbled together a

variety of cases holding that under certain limited circumstances the identity of alleged sex

assault victims may be publicly suppressed. Generally, these cases fall into a few overlapping

categories:




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                                                            (2) alleged minor victims who are truly

minors at the time of their testimony18; and (3) alleged victims who demonstrated legitimate

safety concerns.19




18
  Mot. at 7 United States v. Corley, No. 13-CR-48 (AJN), 2016 WL 9022508, at *1 (S.D.N.Y. Jan. 15,
2016)(minor victim after trial).
19
   Mot. at 5, United States v. Marti, 421 F.2d 1263, 1265 (2d Cir. 1970)(The government claims this case
involved the identity of the witness, which is not true. The only issue was the address of the witness,
“Pelletier” identified in the opinion: “Since counsel could not insure that Pelletier or his family would not
be harassed, it was perhaps not unreasonable for them to view as too costly the court's condition on
allowing Pelletier to answer.” Id.); United States v. Urena, 8 F. Supp. 3d 568 (S.D.N.Y. 2014)(allegations
of racketeering, murder, and narcotics trafficking identity of officers suppressed); United States v.
Cavallaro, 553 F.2d 300, 304 (2d Cir. 1977)(kidnapping, witness was threatened and was in witness
protection program-only address of witness, not identity was restricted); Mot. at 7, United States v. Dan
Zhong, No. 16-CR-614 (DLI), 2018 WL 6173430, at *1 (E.D.N.Y. Nov. 26, 2018)(victims of the alleged
forced labor conspiracy-concerns for safety)



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   2.




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       D.

       The events that are the subject matter of the S2 Indictment are alleged to have occurred

decades ago. Thus, the witnesses are adults with established lives and careers.



Accordingly, cases involving actual minors and the reasons for shielding their names in sex

assault cases are not present here.

       E. No Legitimate Safety Concerns are Present

       Another reason that some courts have agreed to allow the use of false names is where the

witness has a legitimate safety concern. None has been articulated here. Ms. Maxwell has never

interacted with these witnesses, nor has she threatened them.




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       The identity of the lawyers for the accusers may also be the subject of cross examination.

The lawyers for the accusers have cooperated and shared information with each other and the

government for years.




       Substantial impeachment evidence exists as to                   under her real name, not a

pseudonym. Ms. Maxwell should not be forced to compromise the full effect of this evidence by

use of a first name only.

       The government’s proposal also creates substantial possibility for confusion.




            Given the age of the allegations and the potential for confusion by the witnesses the

use of first names or fake names is untenable.

       Should the Court grant the government’s request it will also be confusing, and impossible

to neutrally explain to the jury why some accusers are publicly identified by their real names

while others are not. Any explanation will be prejudicial to Ms. Maxwell.

                                                                        here is no legitimate

reason for fake names. The request by the government is tactical. Having the court instruct the

jury that, as a result of “privacy” or “safety” concerns, certain accusers or witnesses are being

shielded affords the witness Court-sanctioned sympathy and credibility at Ms. Maxwell’s

expense. To be clear, any accuser who testifies that Ms. Maxwell participated in sex abuse or sex

trafficking is not telling the truth. Anonymizing false statements allows additional freedom to

fabricate and impede potential witnesses from coming forward with countervailing testimony.




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       I.   SUPPRESSION OF THE EXHIBITS IS CONTRARY TO WELL-
            ESTABLISHED SECOND CIRCUIT LAW

       At this point, everyone associated with this litigation knows the definition of a “judicial

document.” In this Circuit, “there is a presumption in favor of public inspection and copying of

any item entered into evidence at a public session of a trial.” Application of Nat'l Broad. Co.,

Inc., 635 F.2d 945, 952 (2d Cir. 1980). Moreover, after “the evidence has become known to the

members of the public, including representatives of the press, through their attendance at a public

session of court, it would take the most extraordinary circumstances to justify restrictions on the

opportunity of those not physically in attendance at the courtroom to see and hear the evidence,

when it is in a form that readily permits sight and sound reproduction.” Id. Where the requested

documents were introduced at trial, the strong weight to be accorded the public right of access to

judicial documents was largely derived from the role those documents played in determining

litigants' substantive rights -- conduct at the heart of Article III -- and from the need for public

monitoring of that conduct. United States v. Graham, 257 F.3d 143, 151 (2d Cir. 2001).

       Suppression of any exhibit that contains an accuser’s name in this case is doubly

problematic -- many of the anticipated exhibits are “judicial documents” from other proceedings

that have previously been made public or documents already accessible by the public. There is

nothing confidential about the exhibits and neither the exhibits nor the names of the witnesses

should be redacted or suppressed.

  II. PRE-TRIAL RULING ON “PRIOR CONSISTENT STATEMENTS”
      INAPPROPRIATE

       The government seeks a pre-trial ruling that certain unspecified "prior consistent

statements" of the accusers will be admissible at trial if the defense "challenges the credibility of

the testimony" of the accusers in some unspecified way. Mot. at 17. Under the government's

apparent view, any credibility challenge will permit any prior statement of the government's


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choosing to be admitted, in any quantity or as to any topic. That's not the law. Because a

number of foundational prerequisites must be satisfied prior to determining that any given "prior

statement" is admissible, the government's request for a pre-trial ruling on prior consistent

statements calls for an inappropriate advisory opinion. Not one of the cases cited by the

government in its Motion concerned a pretrial ruling as to the admissibility of a prior consistent

statement, and with good reason. If the government had wanted the Court to rule pretrial on the

admissibility of prior consistent statements, it could have told the Court exactly which statements

they will seek to admit, the circumstances of those prior statements, whether they are in fact

consistent with specific anticipated trial testimony, and whether the other foundational

prerequisites, including Rule 403, will be satisfied and how. Having failed to provide the Court

with these particulars, the government's motion in limine should be denied.

       A. The 2014 Amendments Did Not Change the Grounds for Which Prior
          Consistent Statements May Be Admitted

       First, the 2014 Amendments were not nearly as ground-breaking as the Motion suggests.

The Amendments did not, contrary to the government's implication, change the grounds for

admissibility of prior consistent statements. See Mot. at 17-18. According to the Advisory

Committee Notes:

       “The [2014] amendment does not change the traditional and well-accepted limits
       on bringing prior consistent statements before the factfinder for credibility
       purposes. It does not allow impermissible bolstering of a witness.... The amendment
       does not make any consistent statement admissible that was not admissible
       previously — the only difference is that prior consistent statements otherwise
       admissible for rehabilitation are now admissible substantively as well.”

       As the government correctly notes, prior to 2014 the Second Circuit, like many other

circuits, admitted prior consistent statements "outside of the context of Rule 801(d)(1)(B) in

order to rehabilitate a witness after certain attacks on credibility." Mot. at 18 (citing United

States v. Pierre, 781 F.2d 329, 333 (2d Cir. 1986)). The effect of the 2014 Amendment then, as


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the Second Court explained, was to allow for such statements to be admitted "substantively as

well," rather than as non-substantive rehabilitation. See United States v. Flores, 945 F.3d 687,

705-06 (2d. Cir. 2019) (amendment "extend[s] substantive effect to consistent statements that

rebut other attacks on a witness – such as the charges of inconsistency or faulty memory")

(emphasis in original). Thus, consistent with Pierre and other pre-2014 cases, prior consistent

statements may be admissible to rehabilitate a witness or to explain a faulty memory, and any

such evidence will now be admitted substantively, but the limits on those prior methods of

admitting prior consistent statements for rehabilitation remain applicable post-2014.

       B. Substantial Limits Remain on Admissibility of Prior Consistent Statements

       The question at trial will be which of the supposedly prior consistent statements are

admissible and for what purpose. On that question, the government is silent. See Mot. at 19

(government "intends to call a number of witnesses to introduce certain of the Minor Victims'

prior consistent statements to witnesses about their experiences with the defendant and Epstein")

(emphasis added). By not specifying in their Motion which statements they seek to introduce or

the specific purposes for which they will move for admission, the government has deprived the

defense of an opportunity to challenge the statements' admissibility or for the Court to rule on the

admissibility pre-trial. Rule 801(d)(1)(B)'s amendment in 2014 did not alter the landscape so

much that any attack on the accusers' credibility will allow any prior consistent statement.

Important limits remain on the admissibility of prior consistent statements.

       If the government moves to admit particular statements to rebut a charge of recent

fabrication or improper motive under Rule 801(d)(1)(B)(i), as the Motion suggests they will, the

evidentiary hurdles established by Tome v. United States, 513 U.S. 150, 156 (1995), still apply.

In particular, the government must show proof that the motive for fabrication or improper

purpose arose after the purported statement. In Tome, the U.S. Supreme Court held that the


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motive to fabricate arose immediately after the supposed child-abuse, and thus statements made

to others, months or years later, were inadmissible under now-Rule 801(d)(1)(B)(i). The same is

true here. The improper influence and motive to fabricate occurred, in several instances, many

years ago, shortly after the purported abuse occurred, and before the recently-disclosed

"consistent" statements. Wright & Miller, 30B Fed. Prac. & Proc. Evid. § 6753 Consistent

Premotive Statements (2021 ed.) ("As in Tome, prior consistent statements will frequently be

tainted by the same alleged motive to lie that is claimed to impugn the witness' trial testimony. If

so, Rule 801(d)(1)(B)(i) does not permit their introduction. This result has favorable policy

implications. As Tome stresses, the general exclusion of prior consistent statements ensures that

'the whole emphasis of the trial' does not “shift to the out-of-court statements” as opposed to 'the

in-court ones.'").

        If the government instead offers prior consistent statements to rehabilitate their accusers

or explain their faulty memory under Rule 801(d)(1)(B)(ii), the "offered prior consistent

statement must serve to rehabilitate the witness’s credibility on the same ground upon which the

witness’s credibility was attacked." United States. v. Karl Roye, Crim. No. 3:15-cr-29 (JBA),

2016 WL 4147133 at *1 (D. Conn. Aug. 4, 2016) (citing 1 McCormick On Evid. § 47 (7th ed.)

(“The general test of admissibility is whether evidence of the witness’s ... consistent statements

is logically relevant to explain the impeaching fact. The rehabilitating facts must meet the

impeachment with relative directness. The wall, attacked at one point, may not be fortified at

another, distinct point.”)). As was the case prior to the 2014 Amendments, "a prior consistent

statement may only be used for rehabilitation “when the statement has a probative force bearing

on credibility beyond merely showing repetition.” United States v. Pierre, 781 F.2d 329, 333 (2d.

Cir. 1986).




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       Finally, admissibility of the number and type of prior consistent statements still is guided

by Rules 401 and 403, including whether the prior consistent statements are reliable, cumulative,

or unfairly prejudicial; the Court may choose to exclude prior consistent statements when the

quantity and type of prior consistent statements form the bulk of the government's case rather

than the trial testimony of the witnesses. Tome v. United States, 513 U.S. 150, 165 (1995) ("If

the Rule were to permit the introduction of prior statements as substantive evidence to rebut

every implicit charge that a witness' in-court testimony results from recent fabrication or

improper influence or motive, the whole emphasis of the trial could shift to the out-of-court

statements, not the in-court ones."); Wright & Miller, supra, § 6754 ("The danger of substantive

use of the prior statement remains on the unfair prejudice side of the ledger."). "One thing the

courts all agree on is that there is 'no rule admitting all prior consistent statements simply to

bolster the credibility of a witness." Id. (emphasis supplied).

       As to introduction of these prior consistent statements through other witnesses, the

Second Circuit is clear that "where the declarant has already testified and the prior consistent

statement is proffered through the testimony of another witness, the Rule's 'subject to cross-

examination' requirement is satisfied if the opposing party is not denied the opportunity to recall

the declarant to the stand for cross-examination concerning the statement." United States v.

Caracappa, 614 F.3d 30, 39 (2d Cir. 2010). Thus, if the government elicits prior consistent

statements from third-party witnesses, then they will be obliged to make the declarant-Accuser

available for recall to be subjected to cross examination concerning those statements.

       In sum, the Court's rulings regarding admissibility of prior consistent statements can only

come at the time the government proffers them, explains the purpose for which they are offered

(whether under subpart (i) or (ii) of Rule 801(d)(1)(B)) and clears the other evidentiary hurdles




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for admissibility. To the extent the government seeks a pretrial ruling that all prior consistent

statements may be admitted after any attack on the accusers' credibility, this Court should deny

such a request.

 III. EVIDENCE AND ARGUMENT ABOUT PRIOR CHARGING DECISIONS AND
      THE COURSE OF PRIOR INVESTIGATIONS IS ADMISSIBLE

        “The right to call witnesses in order to present a meaningful defense at a criminal trial is

a fundamental constitutional right secured by both the Compulsory Process Clause of the Sixth

Amendment and the Due Process Clause of the Fourteenth Amendment, as well as by the Due

Process Clause of the Fifth Amendment.” United States v. Percoco, 13 F.4th 158, 177 (2d Cir.

2021) (internal citations and quotation marks omitted). “The right of an accused in a criminal

trial to due process is, in essence, the right to a fair opportunity to defend against the State’s

accusations. The rights to confront and cross-examine witnesses and to call witnesses in one’s

own behalf have long been recognized as essential to due process.” Chambers v. Mississippi,

410 U.S. 284, 294 (1973).

        The government seeks to cripple Ms. Maxwell’s ability to present a meaningful defense

to the charges by trying to preclude evidence and argument that is relevant and admissible and

central to Ms. Maxwell’s defense. The government argues that Ms. Maxwell should be

precluded from offering evidence and argument concerning the following facts: (1) the United

States Attorney’s Office for the Southern District of Florida (“USAO-SDFL”) entered into a

Non-Prosecution Agreement (“NPA”) with Jeffrey Epstein, which resolved the USAO-

SDFL/Palm Beach FBI investigation into Epstein (the “Florida Investigation”) in 2008; (2) the

USAO-SDFL did not charge Ms. Maxwell in its proposed indictment and did not immunize her

by name in the NPA; and (3) the United States Attorney’s Office for the Southern District of

New York (“USAO-SDNY”) charged only Epstein in the first indictment in this case, and did



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whom the government identified as a victim of his offenses so that they could sue him for

damages in civil lawsuits. See NPA at 4.                        was one of those individuals. The

NPA further stipulated that Epstein could not contest his liability in those lawsuits and could not

contest the amount of money damages as long as it was agreed upon by the parties. See id

          sued Epstein under this provision of the NPA and eventually settled with him for

                                                          Accordingly, the NPA is relevant and

admissible, and the defense is entitled to use it to cross-examin                  about her

financial interest. See United States v. Lester, 248 F.2d 329, 334 (2d Cir. 1957) (“it is

permissible to show [on cross-examination] that the witness is financially interested in the

outcome of the litigation); Crowe v. Bolduc, 334 F.3d 124, 132 (1st Cir. 2003) (evidence that a

trial witness has a financial incentive in the outcome of the trial is “classic evidence of bias,

which is routinely permitted on cross-examination”); United States v. Dees, 34 F.3d 838, 844

(9th Cir. 1994) (the question of whether witness had financial interest in outcome of trial is

“critical” to the jury’s determination of credibility).

        There is also little risk that the jury will be confused by the introduction of the NPA. The

Florida Investigation, which the NPA concluded, will already be a significant part of the

government’s case-in-chief. It is clear from the government’s witness list and exhibit list that it

intends to call at least two members of the Palm Beach Police Department,

                    , to introduce various items of evidence that were recovered from the search

of Epstein’s Palm Beach residence in October 2005. These include numerous message pad slips

as well as photographs and video of the exterior and interior of the Palm Beach residence. See

GX-1-A through GX-1-P; GX-2-A through GX-2-W; GX-3-A through GX-3-KK; GX-4-A

through GX-4-K.; GX-201 through GX-296.




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        Accordingly, the Florida Investigation will already be a central part of the case presented

to the jury. It will not be confusing or distracting to elicit evidence of how that investigation

concluded, as the government contends. See Mot. at 27. In fact, the opposite is true. Without

that evidence, the jury will be left to speculate how and when the Florida Investigation ended,

and whether Ms. Maxwell was charged in connection with that investigation. Accordingly,

eliciting evidence of how the Florida Investigation ended, including who was (and was not)

charged in the proposed indictment, and who was (and was not) immunized in the NPA, will be

necessary to avoid jury confusion and speculation, as well as prejudice to Ms. Maxwell.

        The government also suggests that introducing the NPA would require an extended “trial

within a trial” concerning the history of its creation, which was the subject of the 290-page report

from the Department of Justice Office of Professional Responsibility (the “OPR Report”). Mot.

at 27-28. Not so. The defense has no interest in probing the minutiae of the circumstances

surrounding the creation of the NPA. It seems even less likely that the government would do so,

given that the OPR Report found that the NPA was “flawed” and was extremely critical of how

the U.S. Attorney for the Southern District of Florida, Alexander Acosta, handled the resolution

of the investigation. OPR Report at 284. The risk of delay or juror confusion by putting the

NPA at issue in the trial is therefore illusory. It should not be excluded under Rule 403.20




20
  The NPA is also not hearsay. It is an agreement that has independent legal significance and is a “verbal
act” “containing legally operative language affecting the rights of the parties” that does not qualify as
hearsay. Spencer v. City of New York, No. 06 Civ. 2852 (KMW), 2011 WL 13257640, at *1 (S.D.N.Y.
Jul. 5, 2011); United States v. Martin, No. 04 Cr. 1106 MCA, 2005 WL 8163890, at *5 (D.N.M. Apr. 11,
2005); Fed. R. Evid. 801(c), committee notes, subdivision (c).



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       B. Evidence and Argument About the NPA, Prior Charging Decisions, and the
          Death of Jeffrey Epstein Is Admissible to Challenge the Thoroughness and
          Good Faith of the New York Investigation

            1.   Applicable Law

       The Supreme Court has recognized that it is entirely proper for the defense to explore and

challenge “the thoroughness and even the good faith of the [government’s] investigation.” Kyles

v. Whitley, 514 U.S. 419, 445 (1995). For example, the defense may elicit evidence and argue

that the government’s disregard for inconsistencies in the evidence shows a willingness to accept

allegations against the defendant without carefully and critically evaluating their veracity or

seeking other corroborating evidence, which calls into question the integrity of the investigation.

Id. at 445, 448 (the police’s acceptance of main witness’ statements, which were “replete with

inconsistencies,” revealed a “remarkably uncritical attitude” on the part of the police which

“undermine[d] the … integrity of the investigation”). Similarly, the defense may attack the

government’s investigation for its poor quality and lack of thoroughness, including its failure to

corroborate key witness testimony. See Bowen v. Maynard, 799 F.2d 593, 613 (10th Cir. 1986).

For all of these reasons and others, the defense may “attack[] the reliability of the investigation”

and even “the decision to charge the defendant.” Kyles, 514 U.S. at 446; see also id. (citing

Bowen, 799 F.2d at 613 (“A common trial tactic of defense lawyers is to discredit the caliber of

the investigation or the decision to charge the defendant[.]”) and Lindsey v. King, 769 F.2d 1034,

1042 (5th Cir. 1985) (exculpatory evidence “carried within it the potential ... for the ...

discrediting ... of the police methods employed in assembling the case”)).

            2.   Discussion

       Here, the NPA, the government’s prior charging decisions, and the death of Jeffrey

Epstein are all relevant and admissible to allow Ms. Maxwell to challenge the “thoroughness"




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and "good faith” of the New York investigation leading to the charges against her. Kyles, 514

U.S. at 445.

       It is clear from the documents produced by the government that the NPA was the reason

why the New York Investigation was opened in late 2018. On a telephone call with the

prosecutors on February 11, 2021, former AUSA                       confirmed that she met with

attorneys for some of Epstein’s accusers on February 29, 2016, when she was the Project Safe

Childhood Coordinator at the USAO-SDNY, but ultimately did not open an investigation at that

time. See Ex. G at SDNY_GM_02742887-91. In late November 2018, however, Julie K. Brown

published a series of articles in the Miami Herald entitled “Perversion of Justice,” which were

sharply critical of the NPA and the perceived leniency that Epstein received to resolve the

Florida Investigation.              confirmed that she read the Miami Herald articles when they

came out and “was very disturbed to read about how the case was resolved in SDFL, which was

inconsistent with [her] assumptions when the case was presented by the attorneys in February

2016.” Id. at SDNY_GM_02742892.                      further stated that soon afterwards, she spoke

to prosecutors in the Public Corruption Unit, including some of the prosecutors on this case, and

discussed the Miami Herald articles and her February 29, 2016 meeting with the attorneys. See

id. Shortly after that, the New York Investigation was opened.

       It is also clear from the documents produced by the government, that the government

initially focused its investigation on Epstein and did not begin to investigate Ms. Maxwell until

after Epstein died on August 10, 2019, roughly one month after he was arrested. To give just

one example, the New York FBI did not speak to a single one of the four accusers in this case

until after Epstein’s death.




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                                                                         With Epstein dead, the

media focus shifted immediately to Ms. Maxwell who was vilified as Epstein’s principal

accomplice. In addition, Epstein’s accusers were extremely upset, having been denied the

opportunity to see Epstein face the allegations against him in open court. Then-Attorney General

William Barr publicly vowed that “[a]ny co-conspirators should not rest easy. The victims

deserve justice, and we will ensure they get it.”21 Thereafter, in announcing the arrest of

Ghislaine Maxwell at a choreographed press conference on July 2, 2020, Acting United States

Attorney Audrey Strauss boldly announced: “This case against Ghislaine Maxwell is the prequel

to the earlier case we brought against Jeffrey Epstein.” See https://youtu.be/hGAsZthBKCE.

       The defense is entitled to elicit this evidence, as well as evidence of the public outcry and

media scrutiny that followed the Miami Herald articles and Epstein’s death, to argue that the

government initially focused the New York investigation on Epstein and charged only him in the

initial July 2, 2019 indictment in order to rectify the perceived injustice that the NPA was a

“sweetheart deal” for Epstein. When Epstein died, however, the government had to scramble to

quickly build a case against his purported co-conspirators, including Ms. Maxwell. The defense

is further entitled to argue that the public pressure to charge Epstein’s co-conspirators and the

attendant focus on Ms. Maxwell caused the government to engage in a hasty and sloppy

investigation in which they ignored inconsistencies in the evidence, accepted the witness’

statements at face value without testing them or verifying them with corroborating evidence, and

generally exhibited a “remarkably uncritical attitude” to the evidence against Ms. Maxwell.

Kyles at 445, 448 (police’s acceptance of main witness’ statements, which were “replete with


21
  8/12/2019 Remarks of Attorney General William Barr to the Fraternal Order of Police (New Orleans,
LA, Aug. 12, 2019) available at https://www.justice.gov/opa/speech/attorney-general-william-p-
barr-delivers-remarks-grand-lodge-fraternal-order-polices-64th.



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inconsistencies,” revealed a “remarkably uncritical attitude” on the part of the police which

“undermined the … integrity of the investigation”).

        Ms. Maxwell cannot pursue this legitimate line of argument without eliciting evidence of

the NPA, the government’s decision not to charge her in the initial 2019 indictment, and the

death of Epstein. Accordingly, evidence and argument related to these topics is highly relevant

and admissible. See id. at 445-49; Bowen, 799 F.2d at 613; Lindsey, 769 F.2d at 1042. The

probative value of this evidence is also not substantially outweighed by the danger of jury

confusion. Fed. R. Evid. 403. The story of how the New York investigation progressed from its

opening due to the Miami Herald articles that criticized the Florida Investigation and the NPA, to

the indictment of Epstein in July 2019 and his death in August 2019, and finally to the

indictment of Ms. Maxwell in June 2020 is simple and straightforward. The government has a

dim view of the average juror’s intelligence if it does not think the jury can follow that there

were two separate investigations—one in Florida that ended in 2008 with the NPA, and one in

New York that led to charges against Epstein in 2019 and Ms. Maxwell in 2020. See Mot. at 27-

28. That is not hard to follow.22 Accordingly, this evidence should not be excluded because of

an unfounded concern about juror confusion.23




22
  It is particularly hypocritical of the government to argue that a discussion of the various investigations
would create an “extensive side-show” because the investigations “reach[] back 20 years.” Mot. at 27. If
the government does not want a discussion about events that took place over 20 years ago, the solution is
simple: don’t charge a case where the alleged conduct is over 20 years old.
23
   The defense can also elicit this evidence without relying on hearsay. For example, the New York case
agents could testify to the fact that Epstein alone was charged in the 2019 indictment, and the fact of his
death, both of which are not hearsay. Moreover, we do not intend to ask the New York case agents why
Ms. Maxwell was not charged in the 2019 indictment. It is premature, however, to litigate any hearsay
issues at this stage. Those issues should await trial.



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       C. Evidence and Argument About the Fact that Ms. Maxwell Was Not Charged by
          the USAO-SDFL Is Relevant to                Credibility

            1.   Applicable Law

       The Second Circuit has rejected the position that evidence of government charging

decisions is never admissible by a criminal defendant. United States v. White, 692 F.3d 235, 246

(2d Cir. 2012) (“We hold … that the government’s charging decisions may be proper subjects for

cross-examination and argument if otherwise admissible.”). “Such an all or nothing approach

undermines the longstanding principle that ‘the Constitution guarantees criminal defendants a

meaningful opportunity to present a complete defense.’” Id. (quoting Crane v. Kentucky, 476

U.S. 683, 690 (1986) (internal quotation marks omitted)). This is particularly true when the

evidence “is central to the defendant’s claim of innocence.” Id. (categorical exclusion of

government charging decisions “infringe[s] upon a weighty interest of the accused” and threatens

“the right of the accused to require the prosecution’s case to survive the crucible of meaningful

adversarial testing” (internal citations omitted)).

       In determining the admissibility of such evidence, a court must evaluate its “relevance

and probative value.” Id. A court may not exclude evidence of government charging decisions

if it is relevant, admissible, and its probative value satisfies Rule 403. Id. at 246-48. The

standard for relevance is “very low.” Id. (quoting United States v. Al-Moayad, 545 F.3d 139,

176 (2d Cir. 2008)). Evidence is relevant when “it has any tendency to make a fact more or less

probable than it would be without the evidence, and the fact is of consequence in determining the

action.” Fed. R. Evid. 401. Moreover, Rule 403 “favors admissibility.” White, 692 F.3d at 247.




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“[E]vidence is only excluded when its probative value is substantially outweighed by the

prejudice of jury confusion.” Id. (emphasis in original).24

             2. Discussion
        After a roughly two-year investigation during which the Palm Beach FBI interviewed

dozens of alleged victims of Epstein—none of whom implicated Ms. Maxwell, including

                      the USAO-SDFL did not charge Ms. Maxwell. Instead, the USAO-SDFL

charged Epstein                      , whom                   had accused of facilitating Epstein’s

alleged sex trafficking. The fact tha                    first implicated                and only later

implicated Ms. Maxwell is directly relevant to the credibility of                     and the

government’s acceptance of her later testimony against Ms. Maxwell in 2020, which forms the

basis of the sex trafficking offenses charged in Counts Five and Six of the S2 Indictment. See

United States v. Borrero, No. 13 Cr. 58 (KBF), 2013 WL 6020773, at *2 (S.D.N.Y. Nov. 1,

2013) (government’s decision to charge two different people for the same crime on two different

occasions based on the testimony of the same cooperating witness is relevant “to the witness’s

credibility” and “the government’s view of the [witness’s] credibility”).

        Counts Five and Six of the S2 Indictment charge Ms. Maxwell with conspiracy to

commit sex trafficking and a substantive sex trafficking offense for allegedly recruiting or

obtaining                      to engage in commercial sex acts with Epstein. See S2 Ind. (Dkt.

187) ¶¶ 22-27. But in her first and only interview with the Palm Beach FBI on August 7, 2007,


24
  The government relegates its discussion of White to a footnote in its Applicable Law section, even
though it is the controlling Second Circuit precedent on this issue. See Gov’t Mot.at 23 n.8. Instead, the
government cites several cases that were decided before White rejected the categorical approach to
precluding evidence of prior charging decisions. See id. at 22-23 (citing United States v. Boyle, No. 08
Cr. 523 (CM), 2009 WL 5178525 (S.D.N.Y. Dec. 23, 2009); United States v. Rodriguez, 582 F. Supp. 2d
486 (S.D.N.Y. 2008); and United States v. Carneglia, No. 08 Cr. 76 (JBW), 2009 WL 185725 (E.D.N.Y.
Jan. 27, 2009). The Court should give these cases little or no weight.



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               never once mentioned Ms. Maxwell.25 See 3505-005. Instead, she told Special

Agent                        that (1)                              would call her on the phone from

New York to schedule the massages, (2)              led her upstairs to the massage room and

prepared the massage table, (3)           called her on one occasion to tell her that Epstein had

bought her concert tickets, and (4)           took nude photographs of her for Epstein when she

was 16 years old. See 3505-005 at 2-4. On the basis of                      testimony and other

related documentary evidence, the USAO-SDFL charged Epstein                             , and not Ms.

Maxwell, with a substantive count of sex trafficking in a proposed indictment that Special Agent

             presented to the grand jury on March 18, 2008. See 3505-018 at 28 (Count Two of

the proposed SDFL indictment alleged that “Jeffrey Epstein                         procured

[Accuser-4] to engage in commercial sex acts knowing that she was under 18”).

                         2007 testimony stands in stark contrast to her first interview with the

New York FBI almost thirteen years later, on July 17, 2020, when she specifically recalled that

on her first visit to the residence she was greeted at the door by “Ghislaine Maxwell” and

recounted what Ms. Maxwell said to her. See 3505-068 at 1-2.                       further described

seeing Ms. Maxwell multiple times at the residence and having “multiple conversations” with

her about sexual topics, and claimed, among other things, that Ms. Maxwell called her to

schedule massages, paid her for the massages on a few occasions, sent her gifts, and offered to

help her get a passport so that she could travel with Epstein. See id. at 2-4. In subsequent




25
                made a passing reference to “an older lady with short black hair and an unknown accent”
whom she saw at the Palm Beach residence the first time she went. 3505-005 at 1. But even assuming,
arguendo, that Accuser-4 was referring to Ms. Maxwell (which we do not concede), she did not implicate
Ms. Maxwell in Epstein’s alleged sex trafficking in any way.



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interviews,                 went even further, claiming that Ms. Maxwell saw her naked several

times and even fondled                    breasts on one occasion. See 3505-074 at 3.

       Count Two of the proposed SDFL indictment is the same as Count Six of the S2

Indictment and it is based on the exact same evidence that the government proposes to introduce

to support Count Six; namely, the testimony of                  and related documentary evidence.

See GX-1-A through GX-1-P; GX-2-A through GX-2-W; GX-3-A through GX-3-KK; GX-4-A

through GX-4-K (message pad slips); GX-551 (                    phone records); GX-801-803

(FedEx records). The only difference is that                  changed her story and accused Ms.

Maxwell thirteen years later when she was interviewed by the New York FBI. The fact that

              testimony led to two different charging decisions on two different occasions is

relevant to her credibility and the government’s acceptance of her differing testimony. The

decision by the USAO-SDFL not to charge Ms. Maxwell in 2008 is therefore relevant and

admissible. See Borrero, 2013 WL 6020773, at *2.

       This evidence could be elicited without hearsay. Special Agent                   had first-

hand knowledge that Ms. Maxwell was not charged in the proposed SDFL indictment because

she presented the indictment to the grand jury. See 3505-018 at 28:5-8. And it should not be

excluded under Rule 403. The viability of Counts Five and Six of the S2 Indictment rise and fall

on the credibility of               . Moreover, the government’s decision to credit

              2020 testimony, despite its obvious inconsistencies with her 2007 testimony, goes to

the thoroughness and good faith of the New York investigation. The fact that Ms. Maxwell was

not charged in 2008 is highly probative of both issues and is not substantially outweighed by the

risk of juror confusion or speculation. It is therefore admissible.




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       D. Evidence and Argument About the Scope, Timeline, and Investigative Steps of
          Prior Investigations Is Admissible

       The government’s motion to preclude the defense from eliciting evidence about the

investigative steps taken in the Florida Investigation and the New York Investigation, and the

duration of those investigations (see Mot. at 29-32), is entirely off base and breathtaking in the

scope of what it seeks to restrict. It is as if the government will not tolerate any questioning

about its investigations at all. That is certainly not the law. For example, the decision to

interview a witness is an investigative step. Does the government really mean to suggest that

questioning the case agents about who they spoke to and when they spoke to them is irrelevant?

Similarly, the decision to issue a subpoena for documents is an investigative step. Does the

government really mean to suggest that questioning the case agents about which documents they

subpoenaed and when they subpoenaed them is irrelevant? Furthermore, the government will

seek to offer numerous items of evidence collected in both the Florida and New York

Investigations. Does the government really mean to suggest that questioning the case agents

about when those investigations began and ended is irrelevant? Surely not. Such questions are

entirely appropriate and will yield relevant, admissible evidence. The government cannot

possibly try to prevent the defense from asking these types of valid questions or from calling the

case agents as witnesses to answer them.

       The government seems to be conflating “investigative steps” with “investigative

techniques,” even though the defense’s Touhy letter does not request testimony from the case

agents about “investigative techniques.” See Mot., Ex. A (requesting testimony “concerning the

scope, timeline, and resolution of the investigation, as well as the various investigative steps

taken by the agents”). The defense is aware of the rule that it may comment on the absence of

proof in the record, but it is not permitted to argue that the government should have used any



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particular “investigative technique” to prepare its case. See United States v. Saldarriaga, 204

F.3d 50, 52-53 (2d Cir. 2000); United States v. Ngono, 801 F. App’x 19, 24 (2d Cir. 2020)

(summary order); United States v. Londono, 175 F. App’x 370, 375 (2d Cir. 2006) (summary

order); United States v. Duncan, No. 18 Cr. 289 (SHS), 2019 WL 2210663, at *3 (S.D.N.Y. May

22, 2019). We do not intend to violate that rule.

       Nevertheless, conducting a shoddy investigation is not an “investigative technique.” As

previously discussed, the defense is entitled to elicit evidence and argument challenging the

“thoroughness and even the good faith of the [government’s] investigation.” Kyles, 514 U.S. at

445; see also id. at 446 (citing Bowen, 799 F.2d at 613 (“A common trial tactic of defense

lawyers is to discredit the caliber of the investigation or the decision to charge the defendant[.]”)

and Lindsey, 769 F.2d at 1042 (exculpatory evidence “carried within it the potential ... for the ...

discrediting ... of the police methods employed in assembling the case”)).

       As the people with the most knowledge of the scope and progress of the investigations,

the case agents are the most appropriate witnesses for the defense to call to explore these topics.

And because the government has assiduously avoided calling them in its case-in-chief, the

defense must call them in its own case. It is meritless for the government, at this stage of the

case, to try to preclude entire topics or areas of questioning, or to preclude the defense from

calling the case agents at all. The Court should not permit this. If particular questions to the

case agents are objectionable, those objections can be addressed at trial.

       E. A Proffer Regarding the Basis for the Case Agents’ Testimony is Unnecessary
          and Unwarranted

       The government asserts that the defense should be precluded from calling the case agents

as witnesses unless and until it provides a proffer identifying a “proper basis for their testimony.”

Gov’t Mot. at 32-33. The defense already did so in its Touhy letter and the government has cited



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no authority indicating that more is required. Indeed, the government’s demand for a proffer is

nothing more than an attempt to force the defense to spell out exactly what it plans to ask the

case agents and reveal its defense strategy. The Court should reject this demand.

 IV. THE GOVERNMENT’S MOTION TO PRECLUDE EVIDENCE OR
     ARGUMENT ABOUT ITS MOTIVES FOR PROSECUTING MS. MAXWELL IS
     MISGUIDED AND MERITLESS

       The government moves to preclude the defense from eliciting evidence and argument

“regarding the government’s supposed motives for prosecuting Ms. Maxwell, including evidence

of Jeffrey Epstein’s 2019 death and the timing of charges against the defendant.” Mot. at 34.

Once again, the government’s motion reaches too far and should be denied.

       First, as the government points out, challenges to the prosecutors’ motives are typically

brought by raising claims of “vindictive prosecution,” “selective prosecution,” or “outrageous

government conduct,” which must be resolved by the court, not the jury. See United States v.

Regan, 103 F.3d 1072, 1082 (2d Cir. 1997); United States v. Farhane, 634 F.3d 127, 167 (2d Cir.

2011). But the defense is not raising any of those claims. Simply arguing to the jury that the

government substituted Ms. Maxwell for Jeffrey Epstein after his death does not imply that the

prosecution was the result of the government’s “animus toward the defendant” (vindictive

prosecution), or was “motivated by a discriminatory purpose” (selective prosecution), or was so

outrageous that “due process considerations” must bar the prosecution (outrageous government

conduct). See United States v. Avenatti, 433 F. Supp. 3d 552, 562-53 (S.D.N.Y. 2020); United

States v. Sanders, 211 F.3d 711, 716-17 (2d Cir. 2000); United States v. Cuervelo, 949 F.2d 559,

565 (2d Cir. 1991).

       Second, for the reasons set forth above, the defense is entitled to elicit evidence of

Epstein’s death and the timing of the charges against Ms. Maxwell to challenge the thoroughness

and reliability of the government’s investigation. Kyles, 514 U.S. at 445-46; Bowen, 799 F.2d at


                                                42
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612-13; Lindsey, 769 F.2d at 1042. Accordingly, this evidence does not impermissibly question

the government’s motives and should not be precluded.

     V. A PRE-TRIAL BAN ON CHALLENGES TO THE CREDIBILITY OF NON-
        TESTIFYING WITNESSES IS UNSUPPORTED LEGALLY OR FACTUALLY

        The government again refrains from telling the Court exactly what evidence it expects at

trial, yet asks the defense to preview its possible cross-examination or defense-case evidence, in

order both to circumvent the Rules of Criminal Procedure's guidelines and this Court's orders as

to when the defense must disclose certain evidence. What's more, the government gives only

summary suggestions of what the evidence "might" be and then asks the Court to rule

definitively that the defense is precluded from challenging that evidence via cross-examination

or otherwise. Because this Court cannot rule on the admissibility of impeachment evidence of a

non-testifying witness unless and until the government actually elicits testimony concerning such

a witness, this motion should be denied or deferred until the appropriate time at trial.

        The government does a poor job of previewing exactly what statements it anticipates

offering from others related to

                      . It says that "other witnesses are expected to testify about the activities" of

those two non-testifying witnesses, "including [unspecified] statements by them," which

statements according to the government "will not include any statements … offered for the truth

of the matter asserted or under one of the other exceptions listed under Rule 806." Mot. at 37-38.

The government then gives two non-exclusive examples26 but fails to elucidate what exactly the

pertinent statements will be, to wit:



26
  The government does not give any examples pertaining to                                           and
therefore it is wholly unclear what statements the government intends to elicit about her or for what
purpose. See Mot. at 37-38.



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        1.                           (Accuser 4) will testify that                      (Accuser 5)

"recruited" her. Mot. at 38. How? What will                        say that              said to her?

Is it, "I am here to 'recruit you' to a sex abuse ring founded by Jeffrey Epstein and Ghislaine

Maxwell, and Ghislaine Maxwell told me what to do, and I first went over there when I was

under 18." Or will it simply be, "go over to Jeffrey Epstein's house and he will pay you $200 to

give a massage." The answer to whether or not the "recruitment" statement is being offered for

the truth of the matter asserted, or is simply offered for the effect on the listener, can only be

determined at the time the statement is offered and depends very much on the content of the

purported statement. At that time, the government either will or will not be successful in

overcoming a hearsay objection and the grounds for the objection; if it is subsequently admitted

under one of the exceptions listed under Rule 806, the credibility of the accuser-declarant will

become an issue.

        2.                           will testify that she "personally observed the sexual abuse

of"                    . Mot. at 38. According to the government, this testimony will not include

any "hearsay statements" from                 . But that assertion is suspect: "Sexual abuse" is a

legal phrase. In this case, it is asserted that the sexual contact was "sexual abuse" because the

participant (                         ) was underage at the time; indeed                   says that

she saw               engage in seemingly consensual intercourse with Jeffrey Epstein and

outside the presence of Ghislaine Maxwell. So mere observation would not tell

what she saw was "sexual abuse" unless                 also said something about her age, and any

statement by               about her age at the time would be offered for the truth. (

was both below and above the age of consent during the period of the charged conspiracy; the

dates on which                 supposedly observed anything will be hotly contested at trial.) The




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     VI. CERTAIN EVIDENCE OR ARGUMENT THAT MINOR VICTIMS
         CONSENTED TO SEXUAL ABUSE MAY BE ADMISSIBLE.

          The government seeks blanket preclusion of evidence or argument that the accusers

“consented to sexual abuse.” It bears noting that the Indictment does not charge sexual abuse.

The charged offenses allege “sexual activity” (Counts One through Four) and “sex trafficking”

(Counts Five and Six).

          The age of consent for sexual contact purposes varies by jurisdiction. The offenses

charged in the S2 Indictment allege sexual activity with minors and focus on age, rather than

mental or physical incapacity. Accordingly, to qualify as sexual activity with a minor, the statute

must prohibit sexual acts based at least on age of the purported victim. See Esquival-Quintana v.

Sessions, 137 S. Ct. 1562 (2017). As the Supreme Court noted, “state criminal codes aid our

interpretation of ‘sexual abuse of a minor’ by offering useful context.” Id. at 1577 n.3. For

purposes of sexual activity alleged in this case, the definition of “minor” varies among states and

nations: New York defines “minor” as a person under the age of 1728; Florida: under the age of

1829; United Kingdom: under the age of 1630; France: under the age of 15.31 New Mexico does

not have a specific age of consent statute but criminalizes all sexual contact of a minor under the

age of 13 when no coercion or force is involved.32 In the context of the charged offense focusing




28
     NY Penal Law Ann. § 130.03(3)(a).
29
  Fla. Stat. § 794.05(1). At the time of the charged offenses in Counts Five and Six, individuals under
the age of 18 could be charges with prostitution. In 2016, the law was changed, decriminalizing
prostitution of by individuals under the age of 18.
30
     Sexual Offences Act, Chap. 44.
31
     Penal Code, Article 227-25.
32
  NM Stat. Ann. § 30-9-13(A)(1). New Mexico criminalizes sexual contact of minor on a child 13 to 18
years old when coercion is involved. § 30-9-12(A)(2).



                                                   46
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solely on the age of the participant, the generic federal definition of minor requires that the age

of the alleged victim be the then-current age of consent in the jurisdiction where the sexual

activity was intended or did occur.

          Where the ability or incapacity to consent to sexual activity is age-dependent, the proof

must satisfy the elements governed by the statute in effect at time and place where the alleged

sexual activity may occur. For each count in the Indictment, age is a predicate element which the

government must prove to bar the defense of consent. Counts Two and Four specify violations of

New York State Penal Law § 130.55, which criminalizes sexual contact with a person less than

17 years old.33 For Count Two, the government must prove that Ms. Maxwell knew that

           was less than 17 years old.34 For Count Four, the government must prove that

was less than 17 years old during purported sexual activity.35 For Count Six, the government

must prove that Ms. Maxwell knew that                              was under age 18.36

          Counts One and Three charged conspiracies alleging conduct involving all four accusers

identified in the Indictment and multi-jurisdictional locations with varying local state laws.

Depending on the age of the accusers during the time frame of the conspiracy, consent may be an



33
     Section 130.55 – Sexual Abuse in the Third Degree – states in pertinent part:

          A person is guilty of sexual abuse in the third degree when her or she subjects another
          person to sexual contact without the latter’s consent, except that in any prosecution under
          this section, it is an affirmative defense that (a) such other person’s lack of consent was
          due solely to incapacity by reason of being less that seventeen years old.

Designated a B misdemeanor, the maximum penalty is “shall not exceed three months,” (§70.15(2)), far
less than the16 months Maxwell has served in pretrial detention.
34
     See Government Proposed Request to Charge.
35
     See Government Proposed Request to Charge.
36
     See Government Proposed Request to Charge.



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appropriate and viable defense. While the age of consent for Counts Five and Six is 18, at the

time of the alleged offense, individuals under the age of 18 could be charged with commission of

the crime of prostitution.37 At the time of the charged offenses                            was a co-

conspirator who committed crimes of prostitution chargeable under Florida law. See Fla Stat.

§ 796.07 (“Prohibiting prostitution and related acts”).38 In connection with Counts Five and Six,

it is appropriate to raise the defense of consent to engage in prosecution.

           An additional problem with the government’s in limine request is that it conflates two

very distinct and significant concepts: consent by an accuser as an affirmative defense to alleged

unlawful sexual activity and consent to voluntary acts by an accuser. As noted above, the age of

the alleged victim and the state in which any alleged act took place may implicate a consent

defense. Separately, however, the voluntary acts of an accuser are relevant evidence that is



37
  In October 2016, the Florida State Senate enacted House Bill 545, which decriminalized prosecution of
minors found to be engaging in prostitution. Since 2016, Florida considers minors involved in
prostitution victims rather than culprits.
38
     Fla. Stat.§ 796.07(2) sets out all unlawful acts chargeable as prostitution:
               a. To own, establish, maintain, or operate any place, structure, building, or conveyance for
                   the purpose of lewdness, assignation, or prostitution.
               b. To offer, or to offer or agree to secure, another for the purpose of prostitution or for
                   any other lewd or indecent act.
               c. To receive, or to offer or agree to receive, any person into any place, structure, building, or
                   conveyance for the purpose of prostitution, lewdness, or assignation, or to permit any
                   person to remain there for such purpose.
               d. To direct, take, or transport, or to offer or agree to direct, take, or transport, any person to
                   any place, structure, or building, or to any other person, with knowledge or reasonable
                   cause to believe that the purpose of such directing, taking, or transporting is prostitution,
                   lewdness, or assignation.
               e. To offer to commit, or to commit, or to engage in, prostitution, lewdness, or assignation.
               f. To solicit, induce, entice, or procure another to commit prostitution, lewdness, or
                   assignation.
               g. To reside in, enter, or remain in, any place, structure, or building, or to enter or remain in
                   any conveyance, for the purpose of prostitution, lewdness, or assignation.
               h. To aid, abet, or participate in any of the acts or things enumerated in this subsection.
               i. To purchase the services of any person engaged in prostitution.




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admissible to demonstrate the lack of any intent or knowledge on the part of Ms. Maxwell. As

with the other in limine requests, this evidence will need to be evaluated on a question by

question basis and it is premature to issue blanket rulings as requested by the government.

       This case poses multi-jurisdictional issues that invite various defenses. The government

has elected to prosecute, federally, conduct that is quintessentially state-based, and it is bound by

its choice. It has charged offenses associated with coercion, force and violence, when such

conduct did not occur in this case. It has alleged violation of a statute enacted to combat human

trafficking, conduct that does not exist in this case. The government has manipulated federal

statutes to fit alleged conduct that is not normally prosecuted federally and seeks to preclude

defenses responsive to the allegations in the Indictment. It is premature to constrain Ms.

Maxwell’s defense before trial. Ms. Maxwell reserves the right to present evidence and make

argument on the issue of consent when and where appropriate.

VII. UNFOUNDED REQUEST TO PRECLUDE EVIDENCE OF MS. MAXWELL'S
     GOOD ACTS SHOULD BE SUMMARILY DENIED

       The government asks this Court to require that, before Ms. Maxwell refers to or offers

evidence of her “absence when Epstein abused victims who are not part of the government’s

case-in-chief, . . . [she] explain the evidence she plans to offer and why such evidence would be

admissible.” Mot. at 44. According to the government, evidence that Ms. Maxwell was “absent”

when Mr. Epstein allegedly abused certain individuals is actually inadmissible “good acts”

evidence because the jury could use it only to conclude that Ms. Maxwell acted in conformity

with the prior good acts. Id. The government’s argument imagines a duty to provide notice

where none exists, and it misunderstands what constitutes prior-act evidence and basic concepts

of relevance in the context of a conspiracy where one actor denies knowledge of an illegal




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purpose or agreement with any co-conspirator to facilitate an illegal objective. The ill-founded

motion should be denied.

          A. The Government Cites No Authority for Requiring Pre-trial Notice of Such
             Evidence.

          At the outset, this Court can deny the government’s motion for a simple reason: There is

no authority requiring Ms. Maxwell to provide the government with notice of the evidence she

intends to offer at trial. To the contrary, when such notice is required, the Rules of Evidence or

Procedure make the requirement express. Rule of Criminal Procedure 16(b), for example,

imposes a duty on Ms. Maxwell to make certain disclosures, particularly as they regard expert

witnesses and opinions. But the Rule does not require her to identify evidence of her “absence

when Epstein abused victims who are not part of the government’s case-in-chief” and then

“explain the evidence she plans to offer and why such evidence would be admissible.”

          Nor does Rule of Evidence 404(b) require notice from the defendant. In fact, the

government’s invocation of Rule 404(b) actually undermines its motion. In a criminal case, that

Rule imposes on the government a duty to provide advance notice of any other-acts evidence it

desires to admit at trial. Fed. R. Evid. 404(b)(3).39 The Rule does not impose a similar obligation

on a defendant.



39
     The Rule says:

          In a criminal case, the prosecutor must:
          (A) provide reasonable notice of any such evidence that the prosecutor intends to offer at trial, so
          that the defendant has a fair opportunity to meet it;
          (B) articulate in the notice the permitted purpose for which the prosecutor intends to offer the
          evidence and the reasoning that supports the purpose; and
          (C) do so in writing before trial – or in any form during trial of the court, for good cause, excuses
          lack of pretrial notice.
Fed. R. Evid. 404(b)(3) (emphasis added).



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            Because nothing requires Ms. Maxwell to advise the government in advance of the

evidence she intends to admit at trial or why that evidence is relevant, this Court should deny the

government’s motion. If Ms. Maxwell’s attorneys have a good-faith belief that evidence will be

admissible, they can refer to that evidence in opening statement. ABA Criminal Justice

Standards, Defense Function, Standard 4-7.5(b) Opening Statement at Trial (“Defense counsel’s

opening statement at trial should be confined to a fair statement of the case from defense

counsel’s perspective, and discussion of evidence that defense counsel reasonably believes in

good faith will be available, offered, and admitted.”). When the defense offers evidence, the

government can make any objections it thinks are appropriate, and this Court can rule on the

objections in context. See United States v. Rounds, No. 10-CR-239S (1)(2)(3), 2015 WL

5918372, at *1 (W.D.N.Y. Oct. 9, 2015) (“Without hearing the evidence in context, this Court

cannot enter a blanket pretrial ruling. The government’s motion in limine is therefore denied as

premature, without prejudice to the government raising this issue at an appropriate time during

trial.”).

            B. The Referenced Evidence Demonstrates that Jeffrey Epstein Committed Acts of
               Abuse -- Without Ms. Maxwell's Knowledge or Participation – May Be
               Relevant to Existence of Conspiracy or Knowledge of Its Illegal Objectives.

            The government seeks to exclude evidence that "many victims who were sexually abused

by Epstein…did not have personal interactions or dealings with the defendant, including during

the time period of the charged conspiracy." Mot. at 42. The government characterizes this

evidence as "good acts" of Ms. Maxwell (id. at 41-42); they are neither "good," nor Ms.

Maxwell's "acts." Rather, relying on inapposite cases, the government seeks to exclude as

"propensity" evidence the fact that Mr. Epstein sexually abused minors (other than the specified

Accusers) without Ms. Maxwell's knowledge and involvement. The government conveniently

overlooks that:


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   •   the Indictment charged a conspiracy between Jeffrey Epstein and Ms. Maxwell during a
       discrete time period;

   •   the charged conspiracy encompasses females other than the four specified Accusers;

   •   the government's burden at trial will be to show both an agreement between Mr. Epstein
       and Ms. Maxwell to accomplish the specified illegal objectives;

   • the government's burden at trial will also encompass proof beyond a reasonable doubt
     that Ms. Maxwell had knowledge of the conspiracies' illegal objectives.

       Thus, evidence that Jeffrey Epstein acted alone, or with other co-conspirators, without the

knowledge or participation of Ms. Maxwell may be admissible as direct evidence of Ms.

Maxwell's lack of awareness of or participation in the charged conspiracies. For example, if the

government attempts to prove up the conspiratorial agreement or the knowledge of the illegal

objective based on a pattern and practice, then evidence that Epstein acted alone or without Ms.

Maxwell's knowledge or participation may become relevant.

       Each of the cases cited by the government is readily distinguishable. First, all but one of

the cases dealt with specific "good" propensity evidence of the defendant, not the absence of a

co-conspirator during "bad" acts by the defendant. See United States v. Dawkins, 999 F.3d 767

(2d Cir. 2021) (defendant – not a co-conspirator – proffered evidence that on other occasions he

did not bribe other potential targets); United States v. Scarpa, 913 F.2d 993, 1011 (2d. Cir. 1990)

(absence of defendants' discussions about drugs on single occasion not admissible to "disprove

government's theory that the defendants congregated … to discuss the marijuana business");

United States v. Chambers, 800 F. App'x 43, 46 (2d. Cir. 2020) (summary order) (fact that

defendant also ran a legitimate law practice not admissible to disprove he committed bad acts

through illegal practice); Boyce v. Weber, 19 Civ. 3825 (JMF), 2021 WL 2821154, at *8

(S.D.N.Y. July 7, 2021) (defendant's access to other potential victims without engaging in abuse

not admissible to establish innocence). Moreover, each of these cases had to do with tendering



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evidence during trial; none stands for the specific relief requested by the government: that

"before the Court permits the defense to offer evidence or make argument regarding other crimes

that did not involve the defendant, the Court should require the defense to proffer the basis and

relevance of that evidence." For the reasons discussed supra in subsection (A), there is nothing

in the Federal Rules of Criminal Procedure that require the defense to disclose its argument or

evidence pre-trial in the manner suggested by the government.

       Indeed, the only case cited by the government which dealt with a motion in limine, Judge

Matusumoto's decision in United States v. Rivera, No. 13 Cr. 149 (KAM), 2015 WL 1725991

(E.D.N.Y. Apr. 15, 2015), actually undercuts the government's position. See Mot. at 43.

Although the Court excluded pre-trial evidence of "unrelated prior good conduct, i.e., charitable

giving or cooperation with law enforcement," it held:

       To the extent that evidence of good conduct is relevant to the charged conduct (i.e.,
       to establish an alibi) or may be necessary to prevent misleading the jury, the court
       will consider its introduction at trial. The defendants are cautioned, however, that
       evidence of good conduct that does not refute evidence of the offense charged will
       not be admitted.

Id. at *2. Thus, the court properly excluded evidence – unrelated to the charged conspiracy – of

the defendant's "good" propensity, and it also properly reserved for trial the admissibility of

"evidence of good conduct … relevant to the charged conduct" or as "may be necessary to

prevent misleading the jury." Here, too, evidence that the purported conspiracies operated

without the knowledge or participation of Ms. Maxwell during the period charged amounts to

direct evidence that the conspiratorial agreement or knowledge of the objectives likewise did not

exist. Only after the government has made its opening statements and put on its evidence will

the defense even know, much less be in a position to argue, what contrary evidence will be

offered. As with the Court in Rivera, this Court should defer ruling on the admissibility of any

such evidence until the time it is offered into evidence by the defense.


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VIII. THE GOVERNMENT’S MOTION TO LIMIT THE INTRODUCTION OF MS.
      MAXWELL’S STATEMENTS IS PREMATURE AND SHOULD BE DENIED AT
      THIS TIME

       Hearsay is a statement that: (1) the declarant does not make while testifying at the current

trial or hearing; and (2) a party offers in evidence to prove the truth of the matter asserted in the

statement. Fed. R. Evid. 801. Hearsay is not admissible unless allowed by a federal statute; the

Federal Rules of Evidence or other rules prescribed by the Supreme Court. Fed. R. Evid. 802.

“The hearsay rule is designed to prevent the admission of unreliable hearsay but to permit

through its many exceptions the admission of reliable hearsay.” Ferrier v. Duckworth, 902 F.2d

545, 547 (7th Cir.), cert. denied, 498 U.S. 988 (1990).

       Counsel for Ms. Maxwell understand the Federal Rules of Evidence and intend to follow

them. Notably, there are dozens of exceptions to the hearsay exclusionary rule, many of which

could be applicable at any trial in this case, for example, those contained in Fed. R. Evid. 803(1)

through 803(23). Ms. Maxwell has not moved in limine to admit any hearsay statement, and the

government does not identify any statement made by Ms. Maxwell that it believes will be at

issue in this trial. Basically, the government is asking the Court to enter an order directing the

parties to follow the Rules of Evidence.

       The failure of the government to identify any statement or circumstance where a

statement might be offered makes it impossible for the Court to rule on the admissibility of this

unknown evidence. As noted by the court in Velez v. Novartis Pharms. Corp., No. 04 CIV. 9194

CM, 2010 WL 11043081, at *6 (S.D.N.Y. Feb. 25, 2010), the “'motion to exclude hearsay'… is

yet another example of the improper use of in limine motions. . . .” Denying the motion, the

court directed the following solution: “If a witness is asked for hearsay testimony, an attorney…

should stand up and object, and the Court will rule.” Id.




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       The parties should follow the Rules. Ms. Maxwell intends to do so and will object to

evidence she believes is inadmissible at trial.

 IX. MS. MAXWELL'S COUNSEL UNDERSTANDS AND WILL FOLLOW THE
     RULES OF EVIDENCE AND PROHIBITION AGAINST ARGUMENT FOR
     JURY NULLIFICATION – RENDERING THIS MOTION MOOT

       This motion in limine, like most of the preceding ones, is another request that the parties,

and the Court, abide by the Federal Rules of Evidence or that the Court offer an advisory opinion

as to which types of evidence fall within the Rules. As described previously, supra at

Preliminary Statement, these are inappropriate motions in limine. It is unclear if the

government's real intent in filing the motion is to entice defense counsel to share her intended

evidence or arguments for trial in advance of the deadlines set by this Court. In any event, Ms.

Maxwell's defense and her evidence depends very much on what evidence the government elicits

or argues at trial and in opening statements.

       There are certain longstanding and easily understood rules of evidence which apply to

this case. Rule 404(a)(2) permits introduction at trial of a defendant's "pertinent trait," which, if

offered, the government may rebut. Rule 405(a) permits evidence of a person's character or

character trait by reputation or opinion, which, if offered, the opposing party may then inquire as

to relevant specific instances of conduct. Rule 608(a) permits a witness's credibility to be

attacked or supported by reputation testimony for truthfulness or untruthfulness. Ms. Maxwell

and her counsel do not dispute that these rules of evidence apply nor that they all understand the

prohibitions on encouraging jury nullification. Ms. Maxwell and her counsel will not argue to

the jury that they may acquit if they do not like that law. See United States v. Gardner, No. 16-

cr-20135, 2016 WL 5404207, at *6-*7 (E.D. Mich. Sept. 28, 2016) (denying motion in limine

regarding jury nullification. because, "[a]t this point, it is unclear exactly what is included in the

category of “evidence or argument that relates only to jury nullification. Although some


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                             Respectfully submitted,


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                                   Certificate of Service
      I hereby certify that on October 25, 2021, I electronically filed the foregoing Ghislaine
Maxwell’s Response to Government’s Omnibus Motions In Limine with the Clerk of Court using
the CM/ECF system which will send notification of such filing to the following:

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                                                   s/ Nicole Simmons




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